Larry Floyd Obituary: Larry Floyd’s Obituary by the The Robesonian. Page | of 1

L rry Eugene Floyd

  

Larry Eugene Floyd
LUMBERTON — Mr. Larry Eugene Floyd, of Lumberton, North Carolina, was born on Dec. 31, 1949, in
Richmond, Virginia, to the late Mrs. Clara Floyd Grooms and departed this life on Feb. 14, 2016, at
Southeastern Regional Medical Center, Lumberton, North Carolina.
Larry was raised in Robeson County by his uncle, the late Mr. Carry Lee Ellis, and aunt, the late Mrs.
Earline Floyd Taylor.
During his years of schooling, he was employed by McMillian Funeral Home for several years. Larry
attended the Public Schools of Robeson County, graduating in 1968 from South Lumberton High School.
Larry proudly served his country in the U.S. Army. During his service he received a Purple Heart. Upon his return to
North Carolina he became a licensed funeral director while working for Steven Rogers Funeral Home in Fayetteville,
North Carolina, for five years. Larry served his community while working for the Red Springs Police Department for 31
years, until his retirement.
In the year of 1990, Larry established L.E. Floyd Funeral Home in Red Springs, and St. Pauls, North Carolina; which
served families in Robeson, Hoke, Bladen, Scotland and Cumberland counties. He based his business on the motto:
“Where Everyone is Someone."
He leaves fond memories to be cherished by his fiancée and caregiver, Reatha McNeill of the home, Lumberton, North
Carolina; a sister, Sharon Grooms of Philadelphia; Pennsylvania; a brother, George Lee Thompson of Lumberton, North
Carolina, three daughters, Brendella Gillis of Lumberton, North Carolina, Lisa M. Troy of Lumberton, and DyAsia Floyd
of Red Springs, North Carolina; two sons, Edwin Gillis (Tanikia) and Tony Mclver (Matasha) of Lumberton, North
Carolina; two aunts, Ethel Pearl Ford (Dallas) of Fairmont, North Carolina, and Alice Carter (Thomas) of Fayetteville,
North Carolina; his uncle, William "Bill" Floyd of Fairmont, North Carolina; a special cousin and friend, Clara Lawrence of
Charlotte, North Carolina; five grandchildren, Marquiece Tyrele Gillis, Jasmine McCrae, Devangelo Gillis, Jacob Seals
and Malik Mclver; two stepchildren, Evagale McNeill and Tyleak McNeill of the home; a host of nieces, nephews, friends;
and several others which he raised as his own.
A homegoing service for Mr. Larry Eugene Floyd will be held at noon Saturday at Hillary Branch Baptist Church, 1411
Hilly Branch Road, Lumberton, North Carolina.
The viewing will be held at from 4 to 6 p.m. today at L.E. Floyd Funeral Home, Red Springs, North Carolina., and from
11 a.m. to noon Saturday at Hilly Branch Baptist Church, Lumberton, North Carolina.
Entombment will military rites will follow in Moore's Landing, Lumberton, North Carolina.

Funeral Home

LE Floyd Funeral Home Inc
115 Buie St Red Springs, NC 28377
(910) 843-8151

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9/2/2016
 

STATE OF NORTH CAROLINA p=" [, €202

ROBESON

 

In The General Court Of Justice
Superior Court Division
Before the Clerk

County

 

 

 

 

IN THE MATTER OF THE ESTATE Of¢/h Jf - P lt fb:

Name Of Decedent :

LARRY EUGENE FLOYD RENUNCIATION OF RIGHT TO QUALIFY
FOR LETTERS TESTAMENTARY

-O.,C.O& LETTERS OF ADMINISTRATION

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To The Clerk Of Superior Court:

[_]1. The undersigned hereby renounces the right to qualify as executor of the estate of the above named decedent.

2. The undersigned hereby renounces the right to administer the estate of the above named decedent and
respectfully asks that the following nominee be appointed administrator of the estate.

Name Of Nominee

TONY E. MCIVER and EDWIN B. GILLIS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date cc . Date
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Name Of Person Renouncing (Type Or Print) Name Of Witness (Type Or Print)
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AOC-E-200, Rev. 7/06 Original-File

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STATE OF NORTH CAROLINA

ROBESON County

 

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Superior Court Division
Before the Clerk

  

 

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Name Of Nominee

 

day & métver and Edwin ®. Gillis

 

Date
5/16/2016

Date

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Name Of Person Renouncing (Type Or Print)
BRENDELLA GILLIS-MCRAE

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Date

 

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Date

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Signature Of Person Renouncing Signature Of Witness
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